
Smith :
This is a proceeding for the redetermination of a deficiency in income tax for the year 1923 in the amount of $324.26. In 1923 the petitioner sold 91 shares of capital stock of Consolidated Naval Stores Co. at $180 per share. Most of this stock was acquired by the petitioner in 1908 or 1909. The petitioner has no record and no recollection as to the amount paid for the stock. The fair market price or value of the stock on March 1, 1913, was at least $240 per share. The petitioner contends that he sustained a loss upon the sale of the stock in 1923 of the difference between the sale price of $180 per share and the March 1, 1913, value of $240 per share. The respondent has disallowed the claim by reason of the fact that there is no evidence that the cost of the stock to the petitioner was less than the selling price in 1923.

Judgment will be entered for the respondent.

